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                         IN THE UNITED STATES DISTRICT COURT
                              MIDDLE DISTRICT OF FLORIDA
                                  ORLANDO DIVISION

  JERMAN WHEELER,

         Plaintiff,                                 CASE NO.: 6:15-CV-1017-ORL-40TBS

  vs.

  COASTAL DELIVERY, INC.,

        Defendant.
  ______________________________________/

             SETTLEMENT AGREEMENT AND RELEASE OF FLSA CLAIMS
                  THIS SETTLEMENT AGREEMENT AND RELEASE OF FLSA CLAIMS

                             28th day of September 2015, by and between JERMAN
  (“Agreement”) is made this ____

  WHEELER (“Plaintiff”), and Defendant COASTAL DELIVERY, INC. (“Coastal” or

  “Defendant”).

                   WHEREAS, Plaintiff through the above-referenced case alleged unpaid

   overtime compensation was due to him pursuant to the Fair Labor Standards Act of 1938,

   29 §201, et seq. (“FLSA”).

                   WHEREAS, Defendant denies liability and/or any other wrongdoing in

   respect to Plaintiff; and

                   WHEREAS, Plaintiff and Defendant wishes to avoid litigation and settle

   and resolve the controversy between them amicably and expeditiously;

                   NOW, THEREFORE, in consideration of the mutual covenants set forth

   herein and other good and valuable consideration, the receipt and sufficiency of which are

   hereby acknowledged, it is hereby


                  STIPULATED AND AGREED by and between the undersigned parties that

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   the above-styled case is hereby resolved as follows:

                  1.      RECITALS.         The foregoing recitals are true and correct and are

   incorporated herein by this reference.

                  2.      RELEASE OF FLSA CLAIMS.

                          a.      This Agreement shall constitute a waiver and release of all

   claims Plaintiff might have under the FLSA against Defendant.

                          b.      Upon execution of this Agreement, the parties shall

   immediately file the Joint Motion for Approval of Settlement with the Court attached hereto

   as Exhibit “A.”

                          c.      Plaintiff hereby knowingly and voluntarily releases Defendant,

   its parents, predecessors, successors, assigns, subsidiaries, affiliates, and insurers, and their

   past and present directors, officers, shareholders, members, employees, agents, insurers and

   attorneys both individually and in their capacities as directors, officers, shareholders,

   members, employees, agents, insurers and attorneys (collectively “Releasees”) of and from

   any and all claims arising under the FLSA against any of the Releasees which Plaintiff has or

   might have as of the date of execution of this Agreement.

                  3.      CONSIDERATION.

                          a.      If (1) Plaintiff delivers to Defendant’s counsel of an executed

   original of this Agreement, W-4, W-9, and 1099 forms executed by Plaintiff and an

   executed 1099 form from Plaintiff’s counsel; and (2) the Court approves this Agreement

   and dismisses the case, with prejudice, then, within twenty (20) business days after the latter

   of these two events, in consideration of the matters set forth herein, Defendant shall pay to

   Plaintiff the total sum of Eight Thousand Dollars and Zero Cents ($8,000.00) (hereinafter

   “Settlement Sum”), less applicable deductions as described below:

                                                   2
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                    $3,000.00, made payable to Jerman Wheeler, as and for alleged compensatory
                     damages, which amount shall not be subject to deductions or withholding and
                     for which an IRS Form 1099 shall issue to Jerman Wheeler;

                        $3,000.00, made payable to Jerman Wheeler, as and for overtime
                         compensation allegedly due Jerman Wheeler pursuant to the FLSA;
                         which amount shall be subject to deductions or withholding and for which
                         an IRS Form W-2 shall issue to Jerman Wheeler; and

                        $2,000.00, made payable to Wenzel Fenton Cabassa, P.A, as attorneys’ fees
                         and costs and for which separate IRS Forms 1099 shall issue to Wenzel
                         Fenton Cabassa, P.A See Commissioner of Internal Revenue v. Banks and
                         Commissioner of Internal Revenue v. Banaitis, 543 U.S. 426 (2005) and
                         U.S. Treasury Regulation 1.6045-5.

   Plaintiff understands and acknowledges that he would not receive the payments specified in

   this paragraph, except for her execution of this Agreement, including the release of FLSA

   claims contained herein, and her fulfillment of the promises contained herein.

                             b.     Plaintiff agrees to pay federal or state taxes, if any, which are

   required by law to be paid with respect to this settlement. Moreover, Plaintiff agrees to

   indemnify Releasees and hold them harmless from any interest, taxes or penalties assessed

   against them by any governmental agency as a result of the non-payment of taxes on any

   amounts paid to Plaintiff or her attorneys under the terms of this Agreement.

                    4.       NO ADMISSION. Neither this Agreement nor the furnishing of the

   consideration for this Agreement shall be deemed or construed at any time for any purpose as

   an admission by the Releasees of any liability, unlawful conduct of any kind or violation by

   the Releasees of the FLSA.

                    5.       OPPORTUNITY TO REVIEW.                 Plaintiff acknowledges he is

   aware she is giving up all FLSA claims she may have against the Releasees. Plaintiff

   acknowledges she has been advised in writing to consult with an attorney and has had the

   opportunity to seek legal advice before executing this Agreement. In fact, Plaintiff


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   acknowledges that he has consulted with his counsel-of-record, Brandon J. Hill, Esq., prior

   to executing this Agreement. Plaintiff signs this Agreement voluntarily.

                  6.      WAIVER OF JURY TRIAL. Subject to the Court’s approval of this

   Agreement, Plaintiff and Defendant hereby knowingly, voluntarily, and intentionally waive

   any right to a jury trial with respect to the FLSA claims asserted in the above-referenced

   case. If this Agreement is not approved, Plaintiff does not waive his right to a jury trial with

   respect to her asserted FLSA claims.

                  7.      SEVERABILITY. Except as set forth below, should any provision of

   this Agreement set forth herein be declared illegal or unenforceable by any court of

   competent jurisdiction, such that it cannot be modified to be enforceable, excluding the

   release language and the payment obligations set forth in section 3 above, such provision

   shall immediately become null and void, leaving the remainder of this Agreement in full

   force and effect.

                  8.      VENUE AND GOVERNING LAW.                     This Agreement shall be

   governed by the laws of the State of Florida without regard to its conflict of laws provisions.

   In the event of any action arising hereunder, venue shall be proper in the United States

   District Court in and for the Middle District of Florida.

                  9.      ENTIRE AGREEMENT AS TO FLSA CLAIMS. This Agreement

   sets forth the entire agreement between Plaintiff and Defendant as to settlement of the

   Plaintiff’s FLSA claims. Plaintiff acknowledges she has not relied on any representations,

   promises, or agreements of any kind made to her in connection with his decision to sign this

   Agreement, except those set forth in this Agreement.

                  10.     AMENDMENTS. This Agreement may not be amended, modified,

   altered, or changed, except by a written agreement which is both signed by all parties and

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   which makes specific reference to this Agreement.

                 11.    THE     SIGNATORIES         HAVE   CAREFULLY    READ   THIS

   ENTIRE SETTLEMENT AGREEMENT AND RELEASE OF FLSA CLAIMS. THE

   PARTIES HAVE BEEN REPRESENTED BY COUNSEL THROUGHOUT THE

   NEGOTIATION OF THIS AGREEMENT AND HAVE CONSULTED WITH HIS

   ATTORNEYS BEFORE SIGNING THIS AGREEMENT. THE PARTIES FULLY

   UNDERSTAND THE FINAL AND BINDING EFFECT OF THIS AGREEMENT.

   THE ONLY PROMISES OR REPRESENTATIONS MADE TO ANY SIGNATORY

   ABOUT THIS AGREEMENT ARE CONTAINED IN THIS AGREEMENT.

                 HAVING        ELECTED        TO       EXECUTE   THIS   SETTLEMENT

   AGREEMENT AND RELEASE OF FLSA CLAIMS, TO FULFILL THE PROMISES

   SET FORTH HEREIN, AND TO RECEIVE THEREBY THE SETTLEMENT SUM

   AND BENEFITS SET FORTH IN PARAGRAPH 3 ABOVE, PLAINTIFF FREELY

   AND KNOWINGLY AND AFTER DUE CONSIDERATION, ENTERS INTO THIS

   SETTLEMENT AGREEMENT AND RELEASE OF FLSA CLAIMS INTENDING TO

   WAIVE, SETTLE AND RELEASE ALL FLSA CLAIMS HE HAS OR MIGHT

   HAVE AGAINST RELEASEES.

                 THE PARTIES ARE SIGNING THIS AGREEMENT VOLUNTARILY

   AND KNOWINGLY.




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